                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                                Civil Action No.: 5:17-cv-00534-H

                                                   )
                                                   )
EPIC GAMES, INC.,                                  )
                                                   )
                 Plaintiff,                        )
                                                               THIRD DECLARATION OF
                                                   )
                                                              CHRISTOPHER M. THOMAS
v.                                                 )
                                                   )
C.R.,                                              )
                                                   )
                 Defendant.                        )
                                                   )



        I, Christopher M. Thomas, hereby declare and state as follows:

        1.       I am over 18 years of age and suffer from no known disability. Except where

made on information and belief, I have personal knowledge of the facts set forth herein. All the

statements in this declaration are true and correct.

        2.       I am currently, and for all times relevant to this matter have been, an attorney at

Parker Poe, Adams & Bernstein LLP and counsel for Epic Games, Inc., Plaintiff in the above-

captioned action (“Epic”).

        3.       In a video titled “PLAYING WITH MOST KNOWN FORTNITE HACKER!!!

(He Carries Me!),” published June 4, 2018 on YouTube, the person who posted the video and

acts as its host, “Ripped Robby,” plays Fortnite with Defendant, to whom he refers as “Sky

Orbit,” as the “MOST KNOWN FORTNITE HACKER.”

        4.       The description in this video’s post reads verbatim:

                 MOST KNOWN FORTNITE HACKER! Hey guys in todays video a
                 played fortnite with the most known fortnite hacker... Sky Orbit! You



PPAB 5163022v1
             Case 5:17-cv-00534-H Document 33 Filed 10/09/19 Page 1 of 5
                 might of heard of him from many different places, like pewdiepie and
                 many news outlets! He was the kid that fortnite tried to sue over hacking
                 their game!!

       5.        As of the date of this writing, this video has over 101,900 views and Ripped

Robby’s channel has over 1 million subscribers.

       6.        In this video, Ripped Robby introduces Defendant, who is playing under the

username “ItsOrbitz.” as “the world’s most famous Fortnite Hacker, Sky Mother-f**king Orbit!”

This part of the video takes place at the following time in the video: 0:15-0:23.1

       7.        In this video, C.R. admits that he cheats at Fortnite, at one point saying “Yeah, I

mean [Fortnite’s] a fun game you know. It was shit when I first, you know, cheated on it.” (4:48

– 4:54/15:50)

       8.        During this video, Ripped Robby (“RR”) and Defendant (“CR”) have the

following exchange:

                 RR: “Oh yeah, I wanted to ask . . .”
                 CR: “Uh huh”
                 RR: “In the, uh, news stuff, it says your mom was like defending
                     you. Is that . . .”
                 CR: “So, yeah . . .”
                 RR: “Is that true, because of your age, right, she had to . . .”
                 CR: “Um, yeah, we had to get a lawyer, she had to . . .”
                 RR: “Damn bro, so you guys probably had to spend a little bit of
                     money on that, that sucks . . . .”
                 CR: “Nah, my mom knew it all. We didn’t, we didn’t make any
                     money, we didn’t, uh, have to spend any money on anything.”
                 RR: “That’s, uh, okay, okay, that’s even, that’s better.”

                 (8:00-8:33)


       9.        On information and belief, Defendant also appears in a YouTube video in which

he is being shown cheating at Fortnite. This video is titled “Fortnite Streamer Caught


1
 For the rest of this declaration, parentheticals indicating the part of the video in which the
quoted statements take place are included.

                                                  2
PPAB 5163022v1
            Case 5:17-cv-00534-H Document 33 Filed 10/09/19 Page 2 of 5
Aimbotting LIVE!” and was published January 25, 2019 by “ShelbyRenae” on her YouTube

channel.     (Available   at:   https://www.youtube.com/watch?v=IcEZMMEvQbY)           (hyperlink

removed) (the “ShelbyRenae video”). As of the date of this writing, the ShelbyRenae video has

over 26,000 views.

       10.       The ShelbyRenae video features a capture of a video stream posted by another

YouTuber titled “FORTNITE AIMBOT LIVE (NOT FAKE) (2019),” which was broadcast on

or around January 20, 2019 on YouTube (the “Captured Video”). On information and belief,

Defendant is the streamer who originally streamed and posted the Captured Video and is the

player shown cheating at Fortnite in the Captured Video.

       11.       In the Captured Video, the user name of the player shown cheating as well as

other identifying information, (e.g., the “kill feed”—a text feed which shows the names of each

player who dies and the other player who killed him or her) are blacked out on the screen. The

audio, including cheating player’s voice is available. On information and belief, the voice of the

cheating player is Defendant’s. Although ShelbyRenae does not identify Defendant as the

cheating player, at least 15 of the commenters separately identify “Sky Orbit” – the name used

by Defendant on his YouTube channel – as the player cheating in the Captured Video.

       12.       After the Captured Video ends, ShelbyRenae comments on what she and her

viewers have just seen:

       That was freaking intense. It’s just not fair to anybody else in that game who was
       going for their own win. They might have actually been more skilled than him or
       maybe they would’ve won the gun fight and he just has a complete advantage by
       using aimbots.2 I’m assuming he’s been banned off of Fortnite at least on that
       account. It sounds like he gets banned a lot. But, as you might have noticed on his
       stream, he blacked out his name, the kill feed, and pretty much anywhere where
       his name might be, and I’m sure it’s very different than his YouTube username.


2
  “Aimbots” are a type of cheat software that automatically aims at an opposing player, allowing
its user to accurately target and deal more damage to opponents.

                                                3
PPAB 5163022v1
             Case 5:17-cv-00534-H Document 33 Filed 10/09/19 Page 3 of 5
        (10:07- 10:32)

        13.      In a video published June 21, 2019 by CBV, another YouTuber who broadcasted

videos of himself and others cheating at Fortnite, Defendant, who is this video's featured guest,

discusses the above-captioned suit. In this video, which as of this writing, has over 16,000

views, Defendant says to Epic Games: "You guys can eat my ass once again!" (Available at:

https://www.youtube.com/watch?v=tRYKh19QPdc) (hyperlink disabled). (8:54-8:59/11 :40)

        14.      I have searched the docket of the above-captioned case for an entry of returned

mail and found none. It is my understanding from speaking with the Clerk of Court's office that

such an entry would have been made if any of the orders or papers served on Defendant and his

mother by the Clerk were retuned as undeliverable or returned for any other reason.

        I declare under penalty of perjury that the foregoing is tme and correct.
                              ~
       Executed on this       day of October, 2019.




                                                      Christopher M. Thomas




                                                 4
PPAB 5163022vl
          Case 5:17-cv-00534-H Document 33 Filed 10/09/19 Page 4 of 5
                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing THIRD DECLARATION OF

CHRISTOPHER M. THOMAS was electronically filed this day with the Clerk of Court using

the CM/ECF system and is available to C.R. c/o Lauren Rogers via PACER and copies have

been served on C.R. c/o Lauren Rogers at the addresses below.

                                              5 Vireo Circle
                                            Newark, DE 19711

                                           501 West Ave.
                                        New Castle, DE 19720


       This the 9th day of October, 2019.

                                             /s/ Christopher M. Thomas
                                             Christopher M. Thomas
                                             N.C. State Bar No. 31834
                                             christhomas@parkerpoe.com
                                             Tasneem A. Dharamsi
                                             N.C. State Bar No. 47697
                                             tasneemdharamsi@parkerpoe.com
                                             PARKER POE ADAMS & BERNSTEIN LLP
                                             301 Fayetteville Street, Suite 1400
                                             Post Office Box 389
                                             Raleigh, North Carolina 27602-0389
                                             Telephone: (919) 828-0564
                                             Facsimile: (919) 834-4564




                                                5
PPAB 5163022v1
           Case 5:17-cv-00534-H Document 33 Filed 10/09/19 Page 5 of 5
